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                IN THE    UNITED    STATES       DISTRICT     COURT    FOR THE
                           SOUTHERN DISTRICT            OF   GEORGIA
                                  STATESBORO DIVISION


UNITED       STATES    OF AMERICA            *


        v.                                   *                CR   612-005-03


GARY    LENION      MCDONALD                 *




                                       ORDER




        On September 20, 2016, this Court denied Defendant's motion

to   reduce his sentence under 18 U.S.C.                       § 3582(c)(2)       based upon

Amendment 794 to the United States Sentencing Guidelines,                              which

sets    out     new     guidelines    for        the    determination       of    whether   a

defendant       should be       granted a mitigating               role   reduction under

U.S.S.G.       § 3B1.2.     On October 11, 2016, Defendant filed a "Motion

for Minor Role Reduction."                 Perhaps Defendant did not have the

benefit of the Court's ruling when the instant motion was filed.

In any event, the Court explained in its Order of September 20,

2016,        that     Amendment      794     is        not    available      to    Defendant

retroactively in the post-conviction context.                             For this reason,

and as explained previously, Defendant's motion for a minor role

reduction (doc.          261)   is DENIED.

        ORDER ENTERED at Augusta, Georgia, this                            //         day of
October,       2016.




                                                       HONGR&jBLE J. -RANDAL HALL
                                                       UNITED STATES DISTRICT JUDGE
                                                             [•HERN DISTRICT OF GEORGIA
